USCA11 Case: 21-12314   Document: 112    Date Filed: 09/20/2024   Page: 1 of 38
                              No. 21-12314

           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT
                     ______________________
     NATIONAL RIFLE ASSOCIATION OF AMERICA, INC., et al.,

                                               Plaintiffs-Appellants,
                                    v.

    COMMISSIONER, FLORIDA DEPARTMENT OF LAW ENFORCEMENT,

                                               Defendant-Appellee.
                        ______________________
              On Appeal from the United States District Court
                   for the Northern District of Florida
                     No. 4:18-cv-00137-MW-MAF
                       ______________________
        PLAINTIFFS-APPELLANTS’ EN BANC REPLY BRIEF
                    ______________________


                                   John Parker Sweeney
                                   James W. Porter, III
                                   W. Chadwick Lamar, Jr.
                                   BRADLEY ARANT BOULT CUMMINGS LLP
                                   1615 L Street NW
                                   Suite 1350
                                   Washington, D.C. 20036
                                   Phone: 202-393-7150
                                   Facsimile: 202-719-8316
                                   jsweeney@bradley.com

                                   Counsel for Plaintiffs-Appellants
USCA11 Case: 21-12314       Document: 112       Date Filed: 09/20/2024   Page: 2 of 38



       National Rifle Association of America, Inc. v. Commissioner, No. 21-12314

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Counsel for Plaintiffs-Appellants certify that the following is a complete list

of interested persons as required by Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rules 26.1-1 to 26.1-3:

      1.    Baum, Christopher J. (Counsel for Defendant-Appellee)

      2.    Bell, Daniel (Counsel for Defendant-Appellee)

      3.    Blair, Connor M. (Counsel for Plaintiffs-Appellants)

      4.    Bondi, Pam, in her official capacity as Attorney General of Florida
            (Defendant-Appellee, substituted by Defendant-Appellee Moody who
            was dismissed by the District Court)

      5.    Bradley Arant Boult Cummings LLP (Law firm representing Plaintiffs-
            Appellants)

      6.    Fant, Radford (Plaintiff-Appellant, dismissed on appeal by this Court’s
            panel on motion to substitute Plaintiff-Appellant Kelsey)

      7.    Fitzpatrick, Hon. Martin A. (United States Magistrate Judge)

      8.    Glass, Mark, in his official capacity as Florida Department of Law
            Enforcement Commissioner (Defendant-Appellee, substituted for
            Defendant-Appellee Swearingen on appeal)

      9.    Kelsey, Dominic (Plaintiff-Appellant, dismissed on appeal by this
            Court’s panel on motion to substitute Plaintiff-Appellant Stefano)

      10.   Lamar, William Chadwick (Counsel for Plaintiffs-Appellants)



                                           ii
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 3 of 38



        National Rifle Association of America, Inc. v. Commissioner, No. 21-12314

      11.    Moody, Ashley, in her official capacity as Attorney General of Florida
             (Defendant-Appellee, dismissed by the District Court)

      12.    National Rifle Association of America, Inc. (Plaintiff-Appellant)

      13.    Newhall, Timothy (Counsel for Defendant-Appellee)

      14.    Percival, James H. (Counsel for Defendant-Appellee)

      15.    Porter, James W. (Counsel for Plaintiffs-Appellants)

      16.    Stefano, Brooke (Plaintiff-Appellee, substituted for Plaintiff-Appellant
             Kelsey)

      17.    Swearingen, Rick, in his official capacity as Commissioner of the
             Florida Department of Law Enforcement (Defendant-Appellee,
             substituted by Defendant-Appellee Glass on appeal)

      17.    Sweeney, John Parker (Counsel for Plaintiffs-Appellants)

      18.    Teegen, Elizabeth (Counsel for Defendant-Appellee)

      19.    Walker, Mark E., Hon. (United States District Judge below)

      20.    Whitaker, Henry (Counsel for Defendant-Appellee)

      No publicly traded company or corporation has an interest in the outcome of

this case or appeal.

Dated: September 20, 2024              /s/ John Parker Sweeney
                                       John Parker Sweeney

                                       Counsel for Plaintiffs-Appellants



                                         iii
 USCA11 Case: 21-12314                  Document: 112            Date Filed: 09/20/2024             Page: 4 of 38



                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................................... v
INTRODUCTION ..................................................................................................... 1
ARGUMENT ............................................................................................................. 4
         I.       The State does not dispute that the Second Amendment’s plain text
                  presumptively prohibits the Young Adult Ban. ....................................5
         II.      The State has failed to prove that the Young Adult Ban is consistent
                  with the Nation’s historical tradition of firearm regulation ..................6
                  A.       The Founding Era evidence confirms that young adults have
                           a constitutional right to purchase firearms ..................................6
                  B.       The State’s 19th-century evidence is too late and otherwise
                           insufficient to justify the Young Adult Ban..............................16
                  C.       The State’s evidence, “taken together,” does not evince a
                           justifying historical tradition of regulation ...............................26
    III. The Young Adult Ban is facially unconstitutional..............................28
CONCLUSION ........................................................................................................ 29
CERTIFICATE OF COMPLIANCE ....................................................................... 28
CERTIFICATE OF SERVICE ................................................................................ 29




                                                          iv
 USCA11 Case: 21-12314                  Document: 112            Date Filed: 09/20/2024              Page: 5 of 38



                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)

Cases

Atkinson v. Garland,
   70 F.4th 1018 (7th Cir. 2023) ............................................................................... 6

Brown v. Ent. Merchants Ass’n,
   564 U.S. 786 (2011) ..........................................................................11, 12, 15, 16

* District of Columbia v. Heller,
   554 U.S. 570 (2008) ..........................................................................10, 14, 19, 22

Fraser v. ATF,
   672 F. Supp. 3d 118 (E.D. Va. 2023) ................................................................. 20
Espinoza v. Mont. Dep’t of Rev.,
   591 U.S. 464 (2020) ............................................................................................ 22
Gamble v. United States,
  587 U.S. 678 (2019) ............................................................................................ 23

Graham v. Florida,
  560 U.S. 48 (2010) .............................................................................................. 25
Hirschfeld v. ATF,
   5 F.4th 407 (4th Cir. 2021) ...................................................................3, 7, 11, 14
Jones v. Bonta,
   34 F.4th 704 (9th Cir. 2022) .............................................................3, 5, 7, 11, 14
Lara v. Commissioner Penn. State Police,
   91 F.4th 122 (3d Cir. 2024) ................................... 3, 7, 11, 13, 14, 15, 17, 23, 28

Luis v. United States,
   578 U.S. 5 (2016) .................................................................................................. 5

McCulloch v. Maryland,
  17 U.S. (4 Wheat.) 316 (1819) ........................................................................... 10

                                                           v
 USCA11 Case: 21-12314                   Document: 112            Date Filed: 09/20/2024               Page: 6 of 38



McDonald v. City of Chicago,
  561 U.S. 731 (2010) .............................................................................................. 9
* New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
   597 U.S. 1 (2022) ............... 1, 2, 5, 6, 8, 10, 17, 18, 19, 20, 21, 22, 23, 25, 26, 28

NRA v. ATF,
  714 F.3d 334 (5th Cir. 2013) ........................................................................11, 20

Stanford v. Kentucky,
   492 U.S. 361 (1989) ............................................................................................ 25

Roper v. Simmons,
  543 U.S. 551 (2005) ............................................................................................ 23

United States v. Miller,
  307 U.S. 174 (1939) .............................................................................................. 7
* United States v. Rahimi,
   144 S. Ct. 1889 (2024) ................................. 1, 5, 9, 12, 20, 22, 23, 24, 25, 27, 28
Worth v. Jacobson,
  108 F.4th 677 (8th Cir. 2024) ...................................................3, 5, 10, 14, 16, 28

Statutes and Constitutional Provisions

18 U.S.C. § 922 ........................................................................................................ 12
1883 Kan. Stat. 159 .................................................................................................. 26
1883 Wis. Stat. 290 .................................................................................................. 26

1885 Nev. Stat. 51 .................................................................................................... 26

2018 Fla. Laws 10 .................................................................................................... 24

Fla. Stat. § 790.065 .................................................................................................... 3

Fla. Stat. § 743.07 .................................................................................................... 10
U.S. Const. amend. XXVI ....................................................................................... 10


                                                            vi
 USCA11 Case: 21-12314                   Document: 112            Date Filed: 09/20/2024               Page: 7 of 38



Other Authorities

1 John Bouvier, Institutes of American Law (1851) .................................................. 9
2 James Kent, Commentaries on American Law (1827) ........................................... 8

4 William Blackstone, Commentaries on the Laws of England (1765) ............20, 25

Brian Jackson, The Lingering Legacy of In Loco Parentis: An
   Historical Survey and Proposal for Reform, 44 VAND. L. REV.
   1135 (1991) ......................................................................................................... 16
David B. Kopel & Joseph G.S. Greenlee, The Second Amendment
  Rights of Young Adults, 43 S. Ill. U. L.J. 495 (2019) ...............................7, 11, 18

Elizabeth S. Scott, The Legal Construction of Adolescence, 29
   HOFSTRA L. REV. 547 (2000) .............................................................................. 11
The Exclusion of Young Adults from Juries: A Threat to Jury
   Impartiality, 66 J. CRIM. L. & CRIMINOLOGY 150 (1975)................................... 12




                                                           vii
USCA11 Case: 21-12314        Document: 112      Date Filed: 09/20/2024   Page: 8 of 38



                                 INTRODUCTION

      The State’s response brief points to only one conclusion: the State has not met

its burden to prove that Florida’s Young Adult Ban—prohibiting all 18-to-20-year-

old adults from purchasing any firearm for any reason—is consistent with our

Nation’s historical tradition. The ban is facially unconstitutional.

      The State concedes that the Second Amendment’s text presumptively

precludes the Young Adult Ban. The State does not dispute that: (1) young adults

are among “the people”; (2) the ban regulates “Arms”; and (3) a law that prohibits

purchasing a firearm for lawful purposes including self-defense “infringes”

protected conduct as a matter of plain text. The Young Adult Ban is unconstitutional

unless the State has “affirmatively prove[d]” based on “historical precedent” that the

ban is consistent with an “enduring” and “comparable tradition of regulation.” N.Y.

State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 19, 27, 67 (2022); see also

United States v. Rahimi, 144 S. Ct. 1889 (2024) (same). But history is not on

Florida’s side, and the State has failed to carry its burden.

      At the Founding, as the State admits, young adults were permitted and even

required to acquire, possess, and use firearms. It concedes that no law prohibited

young adults from purchasing firearms. The only Founding Era laws that the State

could muster demonstrate that the Founders sought to ensure young adults’ access


                                           1
USCA11 Case: 21-12314          Document: 112         Date Filed: 09/20/2024   Page: 9 of 38



to firearms notwithstanding any side-effects of their status as legal minors at the

time. Of course, young adults in Florida today are legal adults who undoubtedly

enjoy the fully vested rights of citizenship, including the right to keep and bear arms;

only the Young Adult Ban stands in the way of their purchasing firearms. Our

Nation’s Founding Era tradition of permitting, obligating, and ensuring young

adults’ access to firearms—including through purchase—“demands our unqualified

deference,” Bruen, 597 U.S. at 26, and that tradition cannot be cast aside for

Reconstruction Era laws that fail to demonstrate a comparable tradition of regulation

and are, in any event, too late in time to shed light on unambiguous Founding Era

tradition, let alone contradict it, id. at 66.

       The State offers no defense of the panel’s exclusive reliance on laws from the

Reconstruction Era, or its categorical rejection of Founding Era history. The State

agrees that “the Founding-era understanding of that age group’s rights” is what

matters, (State’s Br. at 47–48), but it doggedly relies on mid-to-late 19th-century

evidence that “is simply too late,” Bruen, 597 U.S. at 82 (Barrett, J., concurring).

And that evidence is also “too little,” id., because it contradicts our Nation’s

Founding Era history and, even in a vacuum, does not come close to evidencing a

comparable tradition of regulation.




                                                 2
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024   Page: 10 of 38



      With no real controversy regarding the Nation’s relevant historical tradition,

it is no surprise that courts are consistently striking as unconstitutional laws

restricting the purchase or even public carry of a firearm by young adults. See, e.g.,

Worth v. Jacobson, 108 F.4th 677, 698 (8th Cir. 2024) (holding that Minnesota’s

law prohibiting young adults from publicly carrying handguns is unconstitutional),

pet. for reh’g en banc denied, 2024 WL 3892865 (8th Cir. Aug. 21, 2024); Lara v.

Comm’r Penn. State Police, 91 F.4th 122, 140 (3d Cir. 2024) (invalidating law

banning young adults from public carry during state-of-emergency), pet. for cert.

docketed, No. 24-93 (U.S. July 30, 2024); Jones v. Bonta, 34 F.4th 704, 723 (9th

Cir. 2022) (holding that California law restricting sales of most firearms to young

adults is unconstitutional), op. vacated in light of Bruen, 47 F.4th 1124 (9th Cir.

2022); Hirschfeld v. ATF, 5 F.4th 407, 434 (4th Cir. 2021) (concluding that “state

and federal militia laws show that 18-year-olds had a right to keep and bear arms”

and holding that the federal ban on selling handguns to people under 21 is

unconstitutional), vacated as moot, 14 F.4th 322 (4th Cir. 2021). This Court should

do the same: the Young Adult Ban is facially unconstitutional.




                                          3
USCA11 Case: 21-12314        Document: 112      Date Filed: 09/20/2024   Page: 11 of 38



                                     ARGUMENT

       The State has not disputed that the Second Amendment’s plain text

presumptively prohibits the Young Adult Ban. This case boils down to whether the

State has proven that the ban is consistent with this Nation’s historical tradition of

firearm regulation, against the backdrop of Founding Era laws requiring young

adults to acquire and use firearms and the complete absence of any law from the

Founding Era that prohibited young adults from purchasing a firearm. In the face of

unanimous agreement of every single court of appeals to have considered a challenge

during this decade to any prohibition on purchasing or carrying a firearm by young

adults, it is clear that the State has failed to meet its burden.

       The State asks this Court to find a justifying historical tradition in young

adults’ Founding Era status as legal minors, a few university in loco parentis

regulations, and noncomparable mid-to-late 19th-century restrictions. That is wrong.

Florida’s Young Adult Ban, which makes it a felony punishable by imprisonment

for any young adult to purchase any firearm from any source for any reason,

contradicts our historical tradition, and the State’s evidence does not prove

otherwise. The Court should hold that the Young Adult Ban facially violates the

Second Amendment and reverse the judgment of the district court.




                                            4
USCA11 Case: 21-12314        Document: 112     Date Filed: 09/20/2024    Page: 12 of 38



I.    The State does not dispute that the Second Amendment’s plain text
      presumptively prohibits the Young Adult Ban.

      “[W]hen the Second Amendment’s plain text covers an individual’s conduct,

the Constitution presumptively protects that conduct”; at that point, a state law

regulating protected conduct is unconstitutional unless the State “demonstrate[s] that

the regulation is consistent with this Nation’s historical tradition of firearm

regulation.” Bruen, 597 U.S. at 17; see also Rahimi, 144 S. Ct. at 1897–98 (similar).

      The State’s response brief abandons the panel decision and skips right over

the textual inquiry. And understandably so. The Second Amendment’s plain text

elements are undoubtedly satisfied, and the textual inquiry reveals a robust and

unequivocal right. Young adults aged 18 to 20 are among “the people” who fully

enjoy the Second Amendment’s presumptive protections. See, e.g., Worth, 108 F.4th

at 689. The Young Adult Ban bars the purchase of all firearms, plainly including

within its sweep protected “Arms.” And the plain text protects the right of the people

to acquire protected arms, including through purchase. Luis v. United States, 578

U.S. 5, 26 (2016) (Thomas, J., concurring in the judgment) (“Constitutional Rights

thus implicitly protect those closely related acts necessary to their exercise.”); Jones,

34 F.4th at 716 (“[L]aws that burden the ability to purchase arms burden Second

Amendment rights.”). This Court should hold that each textual element is satisfied

and that the State “has only one way to defend the regulation—by proving that it is

                                           5
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024    Page: 13 of 38



‘consistent with this Nation’s historical tradition of firearm regulation.’” Atkinson v.

Garland, 70 F.4th 1018, 1020 (7th Cir. 2023).

II.   The State has failed to prove that the Young Adult Ban is consistent with
      the Nation’s historical tradition of firearm regulation.

      The State attempts to justify the Young Adult Ban by conjuring a cloak of

ambiguity surrounding 18-to-20-year-olds’ status as legal minors at the Founding—

deploying adverbs like “generally,” “largely,” “typically,” and “effectively”—to

suggest incorrectly that young adults could not purchase firearms. It then tries to

buttress this argument by pointing to a few university regulations, as well as

Reconstruction Era laws that are too late and prove far too little. And, all the while,

the State cannot overcome the complete absence of any early American laws that

barred young adults from purchasing firearms and the ubiquitous presence of

Founding Era laws ensuring and even requiring that young adults had access to

firearms. The State has assuredly not met its burden to prove that the Young Adult

Ban “is consistent with this Nation’s historical tradition of firearm regulation.”

Bruen, 597 U.S. at 17.

      A.     The Founding Era evidence confirms that young adults have a
             constitutional right to purchase firearms.

      The Supreme Court in Bruen made clear that the “traditions of the American

people . . . demand[] our unqualified deference.” Id. at 26. Our Founders permitted,


                                           6
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024   Page: 14 of 38



required, and ensured young adults’ access to firearms, including through purchase.

That Founding Era historical tradition compels the conclusion that the Young Adult

Ban violates the Second Amendment.

      1.     At the Founding, young adults were expected and obligated to acquire

arms for use in the militia, see, e.g., United States v. Miller, 307 U.S. 174, 179

(1939); Jones, 34 F.4th at 721; Hirschfeld, 5 F.4th at 428–29, which demonstrates

“that founding-era lawmakers believed those youth could, and indeed should, keep

and bear arms.” Lara, 91 F.4th at 136. The State does not dispute that “there were

no age-based arms restrictions” during the Colonial Era, the Founding Era, or the

days of the early republic, much less restrictions that targeted 18-to-20-year-olds or

any legal adult. See David B. Kopel & Joseph G.S. Greenlee, The Second

Amendment Rights of Young Adults, 43 S. Ill. U. L.J. 495, 596 (2019). It instead

pivots to a novel theory that because the common law imposed a “practical” hurdle

on the ability of an 18-to-20-year-old to purchase a firearm using credit instead of

money, those individuals can be completely prohibited from purchasing a firearm

today. (State’s Br. at 24–29). But that argument misconstrues history and cannot

justify the ban.

      The State tries to reconceptualize the power of minors at the Founding to

repudiate their commercial contracts upon reaching adulthood as comparable to a


                                          7
USCA11 Case: 21-12314         Document: 112    Date Filed: 09/20/2024    Page: 15 of 38



complete ban on firearm purchases by 18-to-20-year-olds.1 But the State concedes

that young adults certainly could purchase a firearm with up-front money. (Id. at 29).

The State also concedes that minors could purchase a firearm on credit, so long as

the seller was willing to bear the risk that the contract would be voided later. (Id. at

27). After all, “contracts made, in infancy,” were “voidable only, and not absolutely

void.” 2 James Kent, Commentaries on American Law 191 (1827). And the State

does not produce evidence that this hypothetical impediment actually prevented

firearm purchases by young adults. Because neither common law nor positive law

prevented young adults from purchasing a firearm with money or credit, the State

fails to advance a Founding Era tradition of regulation that could support the Young

Adult Ban. The State fails to explain how financial impediments to purchasing

firearms at the Founding might differ from financial impediments to young adults

that exist today, or how those considerations even affect the Second Amendment

right to acquire a firearm.




1
  New York tried the same proof-by-reconception in Bruen with Northampton-style
going-armed laws. 597 U.S. at 47 (“Respondents, their amici, and the dissent all
misunderstand these statutes. Far from banning the carrying of any class of firearms,
they merely codified the existing common-law offense of bearing arms to terrorize
the people, as had the Statute of Northampton itself.”). If it did not work there, it
cannot work here.
                                           8
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024    Page: 16 of 38



      Even if there were some scant relevance to the practical hurdle that Founding

Era young adults hypothetically may have faced when trying to purchase a firearm

on credit, that still cannot justify the Young Adult Ban. There is no similarity at all

in “why” or “how” the voidability of minors’ contracts “burdens the right.” Rahimi,

144 S. Ct. at 1898. The justification is noncomparable because any common law

limitation was based on the hypothetically perceived risk of voidance, but a young

adult today would be fully liable for the obligation. And the burden is

noncomparable because the Young Adult Ban prohibits all purchases, far “beyond

what was done at the founding.” Id.

      The State’s heavy reliance on young adults’ legal status as minors at the

Founding reveals a deeper flaw in its argument: any Founding Era regulation of 18-

to-20-year-olds as legal minors under the protection of their parents (which did not

restrict firearm purchase) has no application to Florida’s modern law prohibiting

legal adults 18-to-20-years-olds from purchasing a firearm. Any Founding Era

limitation on the ability of 18-to-20-year-olds was grounded in their status as legal

minors. (See State’s Br. at 24–26). But any 18-to-20-year-old in Florida is a legal

adult “in the full enjoyment of his civil and political rights,” 1 John Bouvier,

Institutes of American Law 148 (1851). Young adults enjoy a preexisting “inherent”

and “natural right of resistance and self-preservation” which entitles citizens to


                                          9
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024   Page: 17 of 38



armed self-defense, District of Columbia v. Heller, 554 U.S. 570, 594, 628 (2008),

and was enshrined in the Second Amendment, id. at 599–600. Whatever hypothetical

hurdles young adults faced at the Founding on account of their status as legal minors,

they were indelibly removed as a result of Florida removing “[t]he disability of

nonage” for anyone “18 years of age or older,” see Fla. Stat. § 743.07, and the Nation

fixing the age of political majority at 18, U.S. Const. amend. XXVI. The State cannot

rely on Founding Era regulation of that age group as minors to justify a modern

regulation on that group of legal adults responsible for their own self-defense.

      Nor can the State argue that young adults lack Second Amendment rights

merely because they were considered minors at the Founding. Courts “do not

interpret constitutional rights this way.” Worth, 108 F.4th at 690 (rejecting similar

argument at textual stage and quoting Heller, 554 U.S. at 582). The Founders instead

ratified a Second Amendment “intended to endure for ages to come,” Bruen, 597

U.S. at 28 (quoting McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 415 (1819)),

which “can, and must, apply to circumstances beyond those the Founders

specifically anticipated,” id. So even if young adults were not legal adults at the

Founding, they were then and are now fully entitled to Second Amendment

protections. In light of the Founding Era understanding that young adults could, and

should, possess firearms, it remains “inconceivable” to suggest “that 18-to-20-year


                                         10
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024    Page: 18 of 38



olds were not considered, at the time of the founding, to have full rights regarding

firearms.” Jones, 34 F.4th at 719 (quoting NRA v. ATF, 714 F.3d 334, 342 (5th Cir.

2013) (Jones, J., dissenting from denial of rehearing en banc)).

      2.     The State is also wrong to suggest that the Young Adult Ban is justified

because the Founders imposed age limits on some “activities that required judgment

and reason.” (State’s Br. at 39–40 (relying on Justice Thomas’s dissent in Brown v.

Ent. Merch. Ass’n, 564 U.S. 786 (2011)). This is just a repackaged age-of-majority

argument, and it again does not establish any tradition of firearm regulation.

      There is no evidence that the Founders believed that 18-to-20-year-olds

lacked adequate judgment to acquire, have, and use firearms. The opposite is true:

the Founders ubiquitously required 18-to-20-year-olds to acquire and bring their

own firearms to participate in the militia, Jones, 34 F.4th at 721; Hirschfeld, 5 F.4th

at 428–29; Kopel & Greenlee, supra, at 613, which reflects the Founders’ view that

young adults “could, and indeed should, keep and bear arms,” Lara, 91 F.4th at 136.

The State ignores the accepted understanding that the age of majority was set at 21

as a result of the medieval determination that 21-year-old males were strong enough

to carry armor, not because of established reservations about mental judgment.2 The



2
 Elizabeth S. Scott, The Legal Construction of Adolescence, 29 Hofstra L. Rev. 547,
558 (2000) (“The common law age of majority was twenty-one, apparently because,
in the Middle Ages, most men were presumed capable of carrying armor at this
                                        11
USCA11 Case: 21-12314       Document: 112     Date Filed: 09/20/2024   Page: 19 of 38



State’s unsupported assertion that the age of majority at the Founding demonstrates

that 18-to-20-year-olds lack the decision-making ability to have firearms is simply

unsupported by the historical record. Nor can it be squared with Florida’s granting

18-to-20-year-olds all rights of adulthood, including rights that Justice Thomas

wrote in his Brown dissent were tied to “judgment and reason,” 564 U.S. at 834

(Thomas, J., dissenting), including voting, jury service, and testifying in a criminal

case. And, in any event, the Supreme Court has already held that a person cannot be

disarmed merely “because he is not ‘responsible,’” Rahimi, 144 S. Ct. at 1903.

Rahimi upheld 18 U.S.C. § 922(g)(8) based on two comparable historical analogues

that evidenced a tradition of temporary disarmament and imprisonment following

individualized determinations of dangerousness, 144 S. Ct. at 1901–02, not because

of anything to do with “responsibility.” Rahimi forecloses the State’s euphemistic

argument that 18-to-20-year-olds lack judgment—that is, are irresponsible. And it

demonstrates why the Young Adult Ban, lacking any comparable historical

analogue, violates the Second Amendment.




age.”); The Exclusion of Young Adults from Juries: A Threat to Jury Impartiality, 66
J. Crim. L. & Criminology 150, 158 n.69 (1975) (“[The] change in the minimum age
for knighthood, [was not due] to any recognition of increased maturity or
competency, but to the increased weight of armor and need for extra training in
combat skills and chivalry. This age was then carried over into the common law.”).
                                         12
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024    Page: 20 of 38



      3.     The State cannot justify the Young Adult Ban by reference to 18-to-20-

year-olds’ supposed reliance on their parents to acquire firearms at the Founding.

The State concedes that Congress and the states required 18-to-20-year-olds to be

enrolled in the militia, almost universally with self-supplied firearms. (State’s Br. at

30–31). But the State attempts to show a tradition of restriction on the rights of 18-

to-20-year-olds to acquire those firearms, including through purchase, based on

evidence that: (1) 18-to-20-year-olds would in some cases rely upon their parents to

acquire those firearms and (2) two states exempted minors from the obligation to

acquire firearms while several others held parents liable to ensure their young adults’

obligation to acquire firearms. (Id.).

      Neither of those arguments suggests that young adults had anything less than

full Second Amendment rights, including the right to purchase firearms. For one,

neither young adults’ reliance on their parents nor Founding Era militia laws

obligating parents to supply arms for their young adults suggests that young adults

themselves “could not purchase or otherwise acquire their own guns.” Lara, 91 F.4th

at 137 (rejecting the same argument as to public carry). As explained above, and as

the State concedes, they could legally do so. Supra at 7–8. For another, these militia

laws demonstrably prove that the Founders were committed to ensuring young

adults’ access to firearms, notwithstanding any side-effects of their status as legal


                                          13
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024    Page: 21 of 38



minors. The Founders thus believed that young adults “could, and indeed should,

keep and bear arms,” Lara, 91 F.4th at 136, and even passed some measures to

overcome any impediment that may be caused by their minority. This historical

evidence does nothing to suggest that young adults’ ability to purchase a firearm at

the Founding was restricted in a similar way and for a similar reason. Courts

consistently have rejected the argument that Founding Era militia laws support

restrictions on the ability of young adults to acquire and use firearms. See, e.g., id.

at 136–37; Hirschfeld, 5 F.4th at 433–34; see also Worth, 108 F.4th at 695; Jones,

34 F.4th at 721 (concluding that militia laws implied “at least that young adults

needed to have their own firearms”). This Court should, too.

      The State tries to overcome the Founding Era militia laws—even though it

also relies on these laws—by misapplying the notion that the Second Amendment’s

individual right is “unconnected with militia service.” (State’s Br. at 44). Plaintiffs-

Appellants agree that the right is not limited to those eligible for militia duty, but

“[l]ogic demands that there be a link between the stated purpose” of militia

preservation and “the command” that the right to keep and bear arms shall not be

infringed. Heller, 554 U.S. at 577. Founding Era militia laws reflect the Founders’

view that the Second Amendment’s individual right applies at least to those expected

to serve in the militia. Even Lara, which the State cites to support its argument,


                                          14
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 22 of 38



explains that militia laws are “good circumstantial evidence of the public

understanding at the Second Amendment's ratification as to whether 18-to-20-year-

olds could be armed.” 91 F.4th at 137.

      4.     The State tries to support the Young Adult Ban by relying on parents’

historical authority over their 18-to-20-year-old children. (State’s Br. at 20, 24–26).

But these arguments say nothing about whether the government historically has

regulated young adults’ access to firearms in a way comparable to Florida’s ban. The

State relies on Justice Thomas’s dissent in Brown, where he would have upheld a

California law restricting minors’ access to “violent video games” because parents

historically have had authority to restrict what their children hear. 564 U.S. at 824–

35 (Thomas, J., dissenting). But the majority disagreed with Justice Thomas and,

instead, drew a sharp distinction between permissible exercises of “governmental

authority” and the enforcement of “parental authority.” Id. at 795 n.3 (majority op.).

As the majority explained, a decision in that vein would create (as would the State’s

argument here) an indefensible precedent of conditioning the exercises of

constitutional rights on the consent of parents. Id. There is no justification for a

rights-by-parental-consent doctrine even for those under the age of majority; a

fortiori no such doctrine can govern the rights of any class of legal adults.




                                          15
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024    Page: 23 of 38



      5.     The State’s final Founding Era argument is that “regulation of firearms

in colleges” supports a historical tradition of prohibiting 18-to-20-year-olds from

purchasing firearms. (State’s Br. at 32). But university restrictions are not similar in

justification: public and private “universities had guardianship authority in loco

parentis,” and as a result universities could enforce restrictions “that if compelled

by the government, would have violated students’ constitutional rights.” Worth, 108

F.4th at 695. Universities governed their students’ conduct because those students

were under their care and protection, not because of the students’ age, just like the

authority and duty of protection that a parent holds over a child in the home. For that

reason, these rules applied to 25-year-olds, 16-year-olds, and 18-to-20-year-olds

alike.3 In Brown, Justice Thomas’s dissent offered the same in loco parentis

argument in defense of California’s parental-consent law and the Supreme Court

ignored it altogether. 564 U.S. at 830 (Thomas, J., dissenting). That argument cannot

help Florida in this case, either. In any event, university restrictions are also

materially different in burden: they applied to students but not other members of the

public, they applied to students below 18 and above 20, they did not regulate the

acquisition of firearms but instead only where they could be kept and carried, and



3
  Brian Jackson, The Lingering Legacy of In Loco Parentis: An Historical Survey
and Proposal for Reform, 44 Vand. L. Rev. 1135, 1136 n.5 (1991) (“In 1826 two-
thirds of Yale College’s freshman class was 16 years of age and younger.”).
                                        16
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 24 of 38



violation of these university restrictions would not result in a young adult’s

imprisonment.

                                        ***

      Nothing from the Founding Era “evinces a comparable tradition of

regulation.” Bruen, 597 U.S. at 27. Nothing in common law or positive law

prohibited young adults from purchasing firearms—much less imposed an age-based

restriction on any class of legal adults. Any practical limitation stemming from

common law contract principles applicable to minors was noncomparably justified

by the fear of voidance (rather than a judgment about whether young adults should

have access to firearms) and did not impose a comparable burden (because young

adults still could purchase firearms through money, or on credit at the seller’s risk).

      And Founding Era militia laws demonstrate the Founders’ belief that young

adults “could, and indeed should, keep and bear arms.” Lara, 91 F.4th at 136. The

Founding Era evidence therefore confirms that 18-to-20-year-olds have a right to

acquire, keep, and use firearms “[in]distinguishable from that of the general

community.” Bruen, 597 U.S. at 70 (citation omitted). Because the Founding Era

“traditions of the American people . . . demand[] our unqualified deference,” id. at

26, this Court should hold that the Young Adult Ban violates the Second

Amendment.


                                          17
USCA11 Case: 21-12314        Document: 112      Date Filed: 09/20/2024    Page: 25 of 38



      B.     The State’s 19th-century evidence is too late and otherwise
             insufficient to justify the Young Adult Ban.

      Although the State does not defend the panel’s holding about the primacy of

Reconstruction Era understandings, 61 F.4th 1317, 1332 (11th Cir. 2023), it

nevertheless resorts to the same motley assortment of noncomparable

Reconstruction Era laws between 1855 and 1897 that are far too late and otherwise

cannot justify the Young Adult Ban under Bruen’s historical-tradition mode of

analysis. The State alludes to “dramatic [societal] changes” (State’s Br. at 47) and

suggests that it is merely offering “confirmation” of Founding Era understandings

(id. at 34, 48), but the State’s effort to backdoor belated historical analogues into the

analytical fold should be rejected. And, even if the State could negate the robust and

consistent Founding Era understandings, its Reconstruction Era evidence fails to

justify the Young Adult Ban.

      1.     The State artfully tries to overcome the absence of “age-based arms

restrictions” at the Founding, Kopel & Greenlee, supra, at 596, that is fatal to its

defense under Bruen’s straightforward analysis, by trying to invoke the alternative,

nuanced analysis. (State’s Br. at 47). But its proffered rationales for disregarding the

absence of Founding Era regulation defy Bruen and Heller and misconstrue the

relevant history.



                                           18
USCA11 Case: 21-12314      Document: 112     Date Filed: 09/20/2024   Page: 26 of 38



      The State argues that there would have been no reason for states to enact age-

based restrictions targeting young adults because “[u]rban areas simply did not

exist” at the Founding and “few firearms homicides occurred in urban areas in

1791.” (Id. at 34, 46). That unsupported assertion cannot be reconciled with Heller

and Bruen, which recognized that “firearm violence in densely populated

communities” (or “urban area[s]”) is a societal problem that “the Founders

themselves” confronted. Bruen, 597 U.S. at 27 (discussing and quoting Heller, 554

U.S. at 631). Nor is the State’s urban density assertion factually correct: the

Philadelphia area’s population density by 1800 “far exceed[ed] density in American

cities today,”4 and Manhattan’s population density in 1800 was 92.7 people per

hectare (1/100th of a square kilometer), which was roughly the “density of Beijing

in 1999.”5 The Court should not ignore the absence of Founding Era historical

tradition on account of the State’s inaccurate assertion about urban areas at the

Founding.


4
  Paul Sivitz & Billy G. Smith, Essays: Philadelphia and its People in Maps: The
1790s,        The       Encyclopedia      of      Greater       Phila.     (2012),
https://philadelphiaencyclopedia.org/essays/philadelphia-and-its-people-in-maps-
the-1790s/ (last visited Sept. 20, 2024).
5
  Shlomo Angel & Patrick Lamson-Hall, The Rise and Fall of Manhattan’s
Densities, 1800-2010, NYU Marron Inst. of Mgmt., Working Paper 18 (Nov. 2014),
https://marroninstitute.nyu.edu/uploads/content/Manhattan_Densities_High_Res,_
1_January_2015.pdf (last visited Sept. 20, 2024).
                                        19
USCA11 Case: 21-12314      Document: 112      Date Filed: 09/20/2024   Page: 27 of 38



      The State also inaccurately contends that there is no evidence that young

adults posed a societal problem that the Founders would have sought to address.

(State’s Br. at 46–47). But the State itself has argued that young adults have

“lack[ed] reason and decisionmaking ability” since the Founding. (Id. at 40). And

yet the historical evidence is clear that young adults had unsupervised access to

firearms. See supra at 7–9. Moreover, courts repeatedly have acknowledged

longstanding societal issues related to the misbehavior of young adults dating back

at least to the Founding. See, e.g., NRA, 714 F.3d at 342 (Jones, J., dissenting from

the denial of rehearing en banc) (“The members of the first Congress were ignorant

of thermal heat imaging devices; with late teenage males, they were familiar.”);

Fraser v. ATF, 672 F. Supp. 3d 118, 145 (E.D. Va. 2023) (“Since time immemorial,

teenagers have been, well, teenagers.”); see also 61 F.4th at 1332 (“firearm violence

among some 18-to-20-year-olds is nothing new”). And Blackstone discussed many

examples of children being tried and executed for violent felonies including murder

and arson. 4 William Blackstone, Commentaries on the Laws of England 23 (1765).

Though none of these examples necessarily involved misuse of firearms, the State’s

assertion that “[y]outh crime was not a pressing problem” bears little basis in fact.

(State’s Br. at 47). And instead of banning young adults from acquiring, possessing,

or carrying firearms, the Founders chose instead to entrust them with the armed


                                         20
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 28 of 38



defense of their homes, towns, cities, and Nation. And that is the historical backdrop

that should inform any consideration of the Second Amendment rights of young

adults. Bruen, 597 U.S. at 26.

      The State tries to portray Plaintiffs-Appellants as demanding “dead-ringers,”

(State’s Br. at 46), rather than applying Bruen’s “straightforward” reasoning, 597

U.S. at 26. But Plaintiffs-Appellants simply contend that the State has failed to carry

its burden. The enduring societal problems of “firearm violence in densely populated

communities” and young adult misbehavior, and the complete absence of any similar

prohibition targeting young adults, contrasted against the mountain of Founding Era

laws requiring young adults to acquire and possess firearms in defense of home and

country, is overwhelming evidence that the Young Adult Ban is unconstitutional.

      2.     The State’s reliance on Reconstruction Era laws is also improper

because those laws cannot establish a Founding Era understanding of the scope of

the Second Amendment. There is no disagreement that the Second Amendment’s

meaning and scope are grounded in the public understanding of the right at the

Founding in 1791—not Reconstruction in 1868. (See Opening Br. at 42–47; State’s

Br. at 47–48). The State instead asks the Court to consider its 1855–1897 evidence

as both “demonstrative” and “confirmatory” of Founding Era understandings.




                                          21
USCA11 Case: 21-12314        Document: 112      Date Filed: 09/20/2024    Page: 29 of 38



(State’s Br. at 21, 47–48). Neither attempt to backdoor Reconstruction Era laws

works here.

      Using Reconstruction Era history as “demonstrative” evidence of Founding

Era understandings fails from the starting line: The Supreme Court has already

explained that reliance on practices that “arose in the second half of the 19th century”

cannot “evince a tradition that should inform our understanding of” constitutional

rights. Espinoza v. Mont. Dep’t of Rev., 591 U.S. 464, 482 (2020) (free exercise).

Citing Espinoza, Justice Barrett explained in her Bruen concurrence that “if 1791 is

the benchmark,” then “Reconstruction-era history would fail for the independent

reason that this evidence is simply too late.” 597 U.S. at 82 (Barrett, J., concurring).

To be sure, post-enactment history can “illuminate[] the meaning of the enacted

law,” but reliance on “[h]istory (or tradition) that long postdates ratification does not

serve that function.” Rahimi, 144 S. Ct. at 1924 (Barrett, J., concurring).

      Nor can Reconstruction Era history serve as “confirmation” of Founding Era

understandings in this case. As Bruen and Heller already explained, “late-19th-

century evidence cannot provide much insight into the meaning of the Second

Amendment when it contradicts earlier evidence.” Bruen, 597 U.S. at 66 (citing

Heller, 554 U.S. at 614). The State’s mid-to-late 19th-century evidence surely

contradicts the Founding Era record, which lacks any age-based restrictions and


                                           22
USCA11 Case: 21-12314         Document: 112    Date Filed: 09/20/2024   Page: 30 of 38



otherwise reflects the Founders’ belief that young adults “could, and indeed should,

keep and bear arms.” See Lara, 91 F.4th at 136. Thus, the State’s evidence from

1855 to 1897 should be set aside consistently with the Supreme Court’s

jurisprudence, Gamble v. United States, 587 U.S. 678, 702 (2019) (rejecting reliance

on post-enacted treatises because, unlike in Heller, it was not confirmatory), as well

as Second Amendment circuit jurisprudence, Lara, 91 F.4th at 134–35 (“set[ting]

aside” Reconstruction Era analogues).

      3.     Even if it were relevant, the State’s 19th-century evidence does not

evince a “comparable tradition of regulation,” Bruen, 597 U.S. at 27, nor is it

otherwise “consistent with the principles that underpin our regulatory tradition,”

Rahimi, 144 S. Ct. at 1898.

      Just as the panel did, 61 F.4th at 1325–26, the State cites three pre-Civil War

statutes from Alabama (1855), Tennessee (1856), and Kentucky (1859). (State’s Br.

at 37). But these laws applied only to pistols and cannot support a broader prohibition

applicable to all firearms. Rahimi, 144 S. Ct. at 1898, 1902; Bruen, 597 U.S. at 38

(holding that restrictions on “intent” or “manner of carry” and “the exceptional

circumstances under which one could not carry arms” did not support law “broadly

prohibiting” all public carry). Nor did these laws regulate the young adult by banning

purchase; instead, each banned third parties from providing a pistol to a young adult.


                                          23
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 31 of 38



Unlike Florida’s Young Adult Ban, none of these laws subjected young adults to any

punishment, much less a felony and imprisonment. Rahimi, 144 S. Ct. at 1902

(discussing the critical importance of an imprisonment sanction within its

comparability analysis). Nor did these laws have a comparable justification. The

Tennessee and Kentucky laws were enacted “in tandem with laws that prohibited

giving spirits to minors,” 61 F.4th at 1326–27, which suggests that these laws were

passed more to protect the young adult rather than, like the Young Adult Ban, to

mitigate the risk that young adults would use firearms against others, 2018 Fla. Laws

10.

      The State also cites—as the panel did—laws by 16 states and the District of

Columbia between 1875 and 1897. (State’s Br. at 37). But even beyond their

dispositive temporal distance from the Founding, these laws do not reflect a

comparable tradition of regulation. All but two—Missouri (1879) and Delaware

(1881)—applied only to pistols. Only the 1885 Nevada statute criminalized any

conduct by the minor, and it was a noncomparable ban on concealed carry.

      Focusing on Plaintiffs-Appellants’ opening argument that none of these laws

subjected young adults to imprisonment for purchasing a firearm, the State

inaccurately asserts that historically “[m]inors were generally not subject to criminal

punishment” because they lacked the “legal capacity” to be prosecuted. (State’s Br.


                                          24
USCA11 Case: 21-12314      Document: 112      Date Filed: 09/20/2024   Page: 32 of 38



at 43). The Supreme Court, however, has explained that history counsels otherwise:

“the common law set the rebuttable presumption of incapacity to commit any felony

at 14, and theoretically permitted capital punishment to be imposed on anyone over

the age of 7.” Stanford v. Kentucky, 492 U.S. 361, 368 (1989) (citing, among other

sources, Blackstone’s Commentaries), overruled on other grounds, Roper v.

Simmons, 543 U.S. 551 (2005); see also Graham v. Florida, 560 U.S. 48, 106 n.3

(2010) (Thomas, J., dissenting) (same). Blackstone’s Commentaries provide that

“[t]he law of England does in some cases privilege an infant, under the age of

twenty-one, as to common misdemeanors, so as to escape fines, imprisonment, and

the like.” 4 Blackstone, Commentaries 21. That privilege applied principally to

“cases of omission,” and never applied to “any notorious breach of the peace.” Id.

The State, then, is wrong to suggest as some categorical historical truth that 18-to-

20-year-olds were immune from punishment “in most cases.” (State’s Br. at 43

(purporting to summarize Blackstone’s Commentaries)). That clearly was not the

case. The State’s unbridled “speculat[ion]” that there were no criminal restrictions

on 18-to-20-year-olds purchasing firearms because they would be immune from

prosecution cannot satisfy the State’s burden. Bruen, 597 U.S. at 58 n.25. Nor could

the State reconcile its argument with late-19th-century examples of laws targeting

young adults—including with imprisonment—for other kinds of firearm-related


                                         25
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024    Page: 33 of 38



conduct. See, e.g., 1885 Nev. Stat. 51 (subjected minors to a “fine” or “imprisonment

in the county jail” for violating concealed carry restriction); 1883 Kan. Stat. 159

(subjected minors in “possession [of] any pistol, revolver, or toy pistol” to a fine);

1883 Wis. Stat. 290 (deeming it unlawful for any minor to “go armed with any pistol

or revolver” and subjecting the minor to confiscation). Florida punishing young

adults with prison time for buying a firearm—as no government did in the 18th or

19th century—is convincing evidence that Florida’s modern law violates the Second

Amendment.

      The State’s evidence from the mid-to-late 19th-century is far too late to shed

light on Founding Era understandings of the Second Amendment rights of young

adults. Even if it could, that evidence only provides further proof that the Young

Adult Ban is an “outlier[] that our ancestors never would have accepted.” Bruen, 597

U.S. at 30 (citation omitted).

      C.     The State’s evidence, “taken together,” does not evince a justifying
             historical tradition of regulation.

      The State claims that its speculation that Founding Era limitations on the

ability of young adults to purchase on credit constrained their ability to purchase

firearms, along with Reconstruction Era laws prohibiting others from providing

pistols to young adults, collectively evinces a tradition that justifies the Young Adult

Ban. (State’s Br. at 39–49). That is not so.

                                          26
USCA11 Case: 21-12314         Document: 112    Date Filed: 09/20/2024    Page: 34 of 38



      As to the “how” of the comparability analysis, at no point in our Nation’s

history have young adults been subjected to the burden of imprisonment for simply

purchasing a firearm. The common law near the Founding imposed practical hurdles

on young adults purchasing anything on credit but did not prohibit young adults from

purchasing firearms. And the law at the Founding otherwise imposed no age-based

restrictions on access to firearms. Reconstruction Era laws are dispositively too late

to evidence a historical tradition but those laws, if anything, prove that the Young

Adult Ban goes far “beyond what was done” at any point in our Nation’s history.

Rahimi, 144 S. Ct. at 1898.

      As to the “why,” the State contends that Founding Era laws, the too-late

Reconstruction Era laws, and the Young Adult Ban all target “protect[ing] both

minors and the public from their poor decisionmaking and impulsivity.” (State’s Br.

at 40). But this assertion is not supported by the evidence and, at its core, is just as

broad and vague as the government’s reliance on “responsibility” that was

unanimously rejected in Rahimi, 144 S. Ct. at 1903; id. at 1945 (Thomas, J.,

dissenting). Indeed, the Founders did not express the view that young adults were

too immature to have and use firearms; rather, they expressed the opposite by

trusting young adults with the armed defense of the nation and the right to purchase




                                          27
USCA11 Case: 21-12314        Document: 112      Date Filed: 09/20/2024   Page: 35 of 38



firearms to do so. The Young Adult Ban is not “consistent with this Nation’s

historical tradition of firearm regulation.” Bruen, 597 U.S. at 17.

III.   The Young Adult Ban is facially unconstitutional.

       The State offers no other historical defense of the Young Adult Ban. Lacking

an “enduring,” “representative,” and “comparable tradition of regulation” of 18-to-

20-year-olds, id. at 27, 30, 69, the Young Adult Ban is unconstitutional in all

applications and thus is facially invalid. See, e.g., Worth, 108 F.4th at 685 (holding

law banning young adults from public carry facially unconstitutional because it was

invalid in “all its applications to 18 to 20-year olds”); Lara, 91 F.4th at 127 n.4, 140

(holding that Pennsylvania’s state-of-emergency ban on young-adult public carry

was facially unconstitutional).

       The State musters a few conclusory statements that its ban “is constitutional

in most, if not all, of its applications,” (see, e.g., State’s Br. at 21), but it has not

“demonstrate[d] that [the Young Adult Ban] is constitutional in” any application.

Rahimi, 144 S. Ct. at 1898. As the district court explained, the Young Adult Ban

“functions as a total ban” on firearm purchase by law-abiding, responsible young

adults unable to acquire a firearm from their parents and most likely to “actually

need firearms to defend themselves.” App.232. That includes, for example,

prohibiting “the 20-year-old single mother living on her own [from] obtain[ing] a


                                           28
USCA11 Case: 21-12314       Document: 112      Date Filed: 09/20/2024   Page: 36 of 38



firearm for self-defense [while allowing] a 20-year-old living with their parents [to]

easily obtain one.” App.232–33. The Young Adult Ban cannot be upheld.

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs-Appellants respectfully request that this

Court reverse the judgment of the district court and remand the case with instruction

to enter judgment for Plaintiffs-Appellants.

Dated: September 20, 2024                Respectfully Submitted,

                                         /s/ John Parker Sweeney
                                         John Parker Sweeney
                                         James W. Porter, III
                                         W. Chadwick Lamar, Jr.
                                         BRADLEY ARANT BOULT CUMMINGS LLP
                                         1615 L Street NW
                                         Suite 1350
                                         Washington, D.C. 20036
                                         Phone: 202-393-7150
                                         Facsimile: 202-719-8316
                                         jsweeney@bradley.com

                                         Counsel for Plaintiffs-Appellants




                                         29
USCA11 Case: 21-12314      Document: 112     Date Filed: 09/20/2024   Page: 37 of 38



                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations of Federal Rule of

Appellate Procedure 32 because it contains 6,494 words, excluding the parts of the

brief exempted by Rule 32(f).

      This brief complies with the typeface and type-style requirements of Rule

32(a) and 32(a)(6) because it has been prepared in a proportionally spaced typeface

using Microsoft Word in 14-point Times New Roman font.

Dated: September 20, 2024.



                                      /s/ John Parker Sweeney
                                      John Parker Sweeney
                                      Counsel for Plaintiffs-Appellants




                                        30
USCA11 Case: 21-12314      Document: 112     Date Filed: 09/20/2024   Page: 38 of 38



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 20, 2024, a copy of the foregoing

was served via electronic delivery to all parties’ counsel via the Court’s appellate

CM/ECF system, which will forward copies to Counsel of Record.

                                      /s/ John Parker Sweeney
                                      John Parker Sweeney

                                      Counsel for Plaintiffs-Appellants




                                        31
